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UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY
In re VALEANT PHARMACEUTICALS )
INTERNATIONAL, INC. SECURITIES ) Master File No. 3:15-cv-07658
LITIGATION ) (MAS) (LHG)
)
) STIPULATION AND
This Document Relates To: ) ORDER EXTENDING THE VAC
) DEFENDANTS’ TIME TO ANSWER
) THE FIRST AMENDED COMPLAINT
No. 3:15-CV-07658 MAS-LHG )
)

 

This Stipulation is entered into between Lead Plaintiff TIAA (“Lead Plaintiff’) and
Defendants ValueAct Capital Management L.P., VA Partners I, LLC, ValueAct Holdings, L.P.,
ValueAct Capital Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., and Jeffrey W.
Ubben (collectively, the “VAC Defendants”).

WHEREAS, Lead Plaintiff filed a First Amended Consolidated Complaint (the “FAC”) in
the above-captioned action on September 20, 2018 (ECF No. 352);

WHEREAS, the VAC Defendants moved to dismiss the FAC’s claims against them on
October 31, 2018 (ECF No. 387);

WHEREAS, the Court denied the VAC Defendants’ motion on June 30, 2019 (ECF Nos.
462, 463);

WHEREAS, the VAC Defendants intend to file an answer to the FAC;

WHEREAS, the VAC Defendants had until July 15, 2019 to answer the FAC under Federal

Rule of Civil Procedure 12(a)(4)(A);

WHEREAS, the Court granted on July 15, 2019, the VAC Defendants’ request to extend

their time to answer the FAC to August 5, 2019;
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WHEREAS, the VAC Defendants require additional time to prepare their answer to
Plaintiffs’ FAC given its length and complexity, and counsel’s personal circumstances, including

the loss of a family member and pre-planned travel; and

WHEREAS, counsel for Lead Plaintiff consents to the VAC Defendants’ request to extend

their deadline to answer the FAC by eight days;

IT IS HEREBY STIPULATED AND AGREED by the undersigned that the V

Defendants’ time to answer the FAC is extended to August 13, 2019. So Or

KEVIN G. WALSH
GIBBONS P.C.

By: s/ Kevin G. Walsh
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Counsel for Defendants Jeffrey W. Ubben,
ValueAct Holdings, L.P., ValueAct Capital
Master Fund, L.P., VA Partners I, LLC,
ValueAct Capital Management L.P., and
ValueAct Co-Invest Master Fund, L.P.

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